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                                       DEPARTMENT OF DEFENSE
                                 OFFICE OF FREEDOM OF INFORMATION
                                       1155 DEFENSE PENTAGON
                                    WASHINGTON, DC 20301-1155
                                                                                             SEP 1 9 2017
                                                                                             Ref: 17-F-0594


 Ms. Joel Van Over
 Pillsbury Winthrop Shaw Pittman, LLP
 1650 Tysons Boulevard
 Suite 1400
 McLean, VA 22102-4856

Dear Ms. Van Over:

        This is the final response to your enclosed February 22,2017 Freedom of Information Act
(FOIA) request, a copy of which is attached for your convenience. Your request was received in this
office on February 23,2017 and assigned FOIA case number 17-F-0594. We ask that you use this
number when referring to your request.

         The Defense Human Resources Activity (DHRA), a component of the Office of the Secretary of
Defense (OSD), conducted a search of their records systems and provided eleven documents, totaling 842
pages, determined to be responsive to your request. Documents one and two, totaling 53 pages，were
determined to be responsive to Item 1 of your request, in which you ask for “documents sufficient to
show all anchor points, anchor point descriptions，formula used to determine differences in each paygrade
and housing type based on anchor points used, and the local median housing costs for each anchor point
used to determine each 2017 BAH in each of the NJ-PA MHAs.” Documents three and four，totaling 724
pages，were determined to be responsive to Item 2 of your request, in which you ask for “copies of all
data or information (from any source) relied upon by DTMO to determine each 2017 BAH in each of the
NJ-PA MHAs.M It was also determined that document three, totaling 720 pages，is responsive to Items 3，
5 and 6 of your request in which you ask for: “All documents that show the source of all housing rental
data by address or location, description and information on the validity of the rental data, the dates and
means by which it was gathered, and the “availability” of the rental housing used to determine each 2017
BAH in each of the NJ-PA MHAs”; “All documents that relate to validating the adequacy and reliability
of the data relied upon to determine each 2017 BAH in each of the NJ-PA MHAs; and “All documents
containing the information provided by each fort，post, or base housing office in the NJ-PA MHAs related
to determining each 2017 BAH in each of the NJ-PA MHAs and correspondence related to such
information.” Documents five through eleven, totaling 65 pages, were determined to be responsive to
Item 4 of your request, in which you ask for “copies of all analysis or discussion of any changes to each
BAH from 2016 to 2017 in each of the NJ-PA localities.”

         Mr. Correy Thomas, Information Governance Lead，an Initial Denial Authority for DHRA, has
determined that documents two through ten should be withheld in their entirety pursuant to Exemption 4
of the FOIA, 5 U.S.C. § 552(b)(4), which protects information, such as trade secrets and commercial and
financial information obtained from a person on a privileged or confidential basis, that, if released, would
result in competitive harm to a company, would impair the government from obtaining like information in
the future, and/or would affect overall program effectiveness. In addition, DHRA determined that
documents one and eleven, totaling 72 pages, are appropriate for release in their e ntirety, without
excision.

        DHRA also conducted a search of their records systems for records responsive to Items 7 and 8 of
your request in which you ask for “all documents showing the analyses and calculations performed to

Civil Case No.: 1:21-cv-00394                                                                    Exhibit E
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 determine that each 2017 BAH in each of the NJ-PA MHAs is based on data sufficient to attain, for each
 type of housing unit, a 95% statistical confidence that the estimated median rent is within 10% of the true
 median rent in each of the NJ-PA MHAs” and ‘‘copies of all quality assurance data or information
 collected during on-site evaluations performed during 2016 in each NJ-PA MHA and any analysis of such
 data or information.” After thorough searches of the electronic records and files of DHRA, no documents
 of the kind you described in Items 7 and 8 could be identified. We believe that these search methods
 were appropriate and could reasonably be expected to produce the requested records if they existed.

        The Office of the Secretary of Defense incurred a cost totaling $176.00 in processing your
request. Assessable fees consisted of 4 hours of review time at the professional rate of $44.00 per hour.
Please make payment in the amount of $176.00 via check or money order payable to the U.S. Treasury.
Please reference case 17-F-0594 and send payment to: The Office of Freedom of Information, 1155
Defense Pentagon, Washington, D.C. 20301-1155.

       This action closes your request with this office. If you are not satisfied with this response, you
may contact our OSD FOIA Public Liaison, Jim Hogan, at 571-372-0462 or by email at
OSD.FOIALiaison@mail.mil. Also, please note that the Office of Government Information Services
(OGIS) offers services to requesters who have disputes with Federal agencies. You may contact OGIS if
you have concerns about the processing of your request. Their contact information is provided below:

        Office of Government Information Services
        National Archives and Records Administration
        8601 Adelphi Road-OGIS
        College Park, MD 20740
        E-mail: ogis@nara.gov
        Telephone: 202-741-5フ70
        Fax: 202-741-5769
        Toll-free: 1-877-684-6448

        You have the right to appeal to the appellate authority, Ms. Joo Chung, Director of Oversight and
Compliance, Office of the Secretary of Defense, by writing directly to ODCMO Directorate for Oversight
and Compliance, 4800 Mark Center Drive, ATTN: DPCLTD, FOIA Appeals, Mailbox# 24, Alexandria,
VA 22350-1700. Your appeal must be postmarked within 90 calendar days of the date of this response.
Alternatively, you may use the OSD FOIA request portal at http://pal.whs.mil/palMain.aspx or email your
appeal to osd.foia-appeal@mail.mil. If you use email, please include the words "FOIA Appeal" in the
subject of the email. Please also reference case number 17-F-0594 in any appeal correspondence.

        If you have any questions about the foregoing, please do not hesitate to contact, the Action
Officer assigned to your request, Irina Tsiklik, at Irina.Tsiklik.civ@mail.mil or (571) 372-0465.

                                                      Sincerely,




                                                     Stephanie L. Carr
                                                     Chief

Enclosure:
As stated
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                                                                                                   C. Joel Van Over
                                                                                                   tel: 703.770.7604
                                                                                     jocl.vanüVL'i^pilbburylüw.cüm

      February 22, 2017


      VIA EMAIL
      Stephanie Carr
      FOIA C이iiact
      OSD/JS FOIA Request Service Cerner
      Ofììcc of Freedom of Inibnnation
      1155 Defense Pentagon
      Washington. DC 20301-1155

                Re:      FOLA Request

      Dear Ms. Carr:

      Pursuant to the Freedom oi’lnt’ormation Acî, 5 U.S.C. § 522» as amended (“FOIA").
      vve request documents related to the collection of data, the evaluation of data, and Ihc*
      calculation of the Basic Allowance for Housing (“BAH”)by the Defense Travel
      Managcmcnl OHlcc (''DTMO") or its contractor, for lhe            that will apply in 2017
      in certain military housing areas ("MHAs”): NJ200. NJ201, NJ 203. NJ 204. PA 그48.
      PA249. and PA255 (“referred to herein as the NJ-PA MHAs"). For purposes of this
      FOIA request, the "BA卜「means ihe BAH for each status category of service member
      and qualified non-service member and each type of housing units related to each.

      Specifically, we request the following documenis:

            I. Documents sufficient to show all anchor points', anchor poini descriptions,
               ibmiula used lo determine differences in each paygrade and housing type
               based on anchor points used, and the local median housing costs for each
               anchor point used to determine each 20] 7 BAM in each ofthe NJ-PA MHAs.

            2. Copies of all data or information げrom any source) relied upon by DTMO to
               determine each 2017 BAH in each of the NJ-PA MHAs.




      i
          'Anchor point" and andior poiiu daia are doilncd in ihe DTMO publicaron "A Primer on the Basic
          Allowance for Housing (DAIIV* dated January 2016 at seciion 10 (Housing Profiles and Standards),
          attached hereto for reference.


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Ms. Joanne Collins
February 22. 2017
Page 2


   3. Ail documents that show the source of all housing rental data by address or
      location, descripiion and infomiation on the validity of ihe reniai data, the
      dates and means by which it was gathered, and the ''avaijabiíity*1 of the rental
      housing used io deiemiine cadì 2이 7 BAH in each of the NJ-PA MHAs

       Copies of all analyses or discussion of any changes to each BAH from 2016 to
       2017 in each of the NJ-PA Localities.

   5. All documents that relate to validating the adequacy and rcliabiliiy of the dam
      relied upon lo determine each 2017 BAti in each of the NJ-PA MHAs.

   6. All documents containing ihe informaiion provided by each tori, post, or base
      housing office in the NJ*?A MHAs relmed to determining each 2017 BAH in
      each of the NJ-PA MHAs and comispondence related io such information.

       All documents showing the analyses and calculations performed lo determine
       that each 2017 BAH in each of the NJ-PA MHAs is based on data sutTicieni to
       attain, for each type of housing unit, a 95% statistical conlldcnce that the
       estimated median rent is within 10% of the true median rent in each of the NJ-
       PA MHAs.

   8. Copies of aii quality assurance data or information coliccîed during on-siie
      evaluaiions perfonned during 2016 in each NJ-PA MHA and any analysis of
      such data or informaiion.

        Wc greatly appreciate your providing documents in response io this request as
they arc available. We are happy io accept eieclronic copies of any or nil documents
to the extent (his is easier and acceptable.

       Wc will promptly pay for copyint» and search charges, as required, up to $500.
Please notity us in advance if the anticipated charges are likely to exceed S50Û.

        rhank you for your assistance in this mauen If you have any questions, or
need clarification, please contaci me. i would appreciate receiving a coniirmation of
your receipt oi’lhis FOIA request.

Very truly yours.



 < Joöl Van Over


Unclosure



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